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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA                             )

 vs.                                                  )   CRIMINAL ACTION 10-00187-KD

 ERICA JORDAN,                                        )

        Defendant.                                    )

                                               ORDER

        This action is before the Court on the joint motion to continue the trial of defendant Erica

 Jordan (doc. 307). Upon consideration of the motion and the grounds stated therein, the Court

 finds that pursuant to 18 U.S.C. ' 3161(h)(7)(A), Athe ends of justice served by taking such

 action outweighs the best interest of the public and the defendant in a speedy trial.@ Specifically,

 the Court finds that the request for continuance to further review discovery for trial preparation

 and for trial of the remaining defendants in one proceeding, is reasonable under the

 circumstances. See 18 U.S.C. ' 3161(h)(7)(B)(iv)(requiring consideration of whether failure to

 grant a continuance “would deny counsel for defendant or the attorney for the Government the

 reasonable time necessary for effective preparation, taking into account the exercise of due

 diligence.@)

        For purposes of the Speedy Trial Act, any delay resulting from this continuance is

 excludable pursuant to 18 U.S.C.A. ' 3161(h)(7)(A) (excluding A[a]ny period of delay resulting

 from a continuance granted by any judge . . . if the judge granted such continuance on the basis

 of his findings that the ends of justice served by taking such action outweigh the best interest of

 the public and the defendant in a speedy trial.@).

        However, this continuance is contingent upon defendant Erica Jordan filing a
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 written waiver of her right to a speedy trial signed by Jordan not later than Friday,

 October 29, 2010 at 3:00 p.m. Accordingly, provided that defendant files her waiver of speedy

 trial , the motion to continue trial (doc. 307) is GRANTED and this case is continued to the

 December 2010 criminal trial term with jury selection to be held on November 29, 2010.

        The Clerk of the Court is directed to refer this matter to the appropriate Magistrate Judge

 to reschedule a pretrial conference in November 2010.

        DONE and ORDERED this October 28, 2010.


                                               s/ Kristi K. DuBose
                                              KRISTI K. DuBOSE
                                              UNITED STATES DISTRICT JUDGE
